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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

RICHARD KENNETH SANFORD AND                         )
DORA SANFORD                                        )
              Plaintiffs,                           )
vs.                                                 )     No. 4:20-cv-38
                                                    )
BUSCO, INC., d/b/a ARROW STAGE                      )
LINES                                               )
                   Defendant.                       )


                                      NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Busco Inc., d/b/a Arrow Stage Lines

(“Busco”) files this notice of removal. As grounds for removal, Busco states as follows:

        1.      Busco is a defendant in a civil action pending in the Iowa District Court for Polk

County entitled Richard Kenneth Sanford and Dora Sanford v. Busco, Inc. d/b/a Arrow Stage

Lines, Cause No. LACL146972 (the "State Court Action").

        2.      The State Court Action was commenced on January 16, 2020. As such, this

notice of removal is timely filed under 28 U.S.C. § 1446(b) because it is within 30 days of receipt

of the initial pleading setting forth the claim for relief.

        3.      The State Court Petition includes claims for relief under state law, and the State

Court Action is a civil action which is properly removable to this Court by Busco as defendant.

        4.      This Court has original jurisdiction over this matter under 28 U.S.C. § 1332

because there is complete diversity of citizenship between the parties in this matter and the

amount in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

Busco states the following pursuant to LR 81(f):
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                a.      While the State Court Petition does not specify the precise amount in

        controversy, the State Court Action was not filed under Iowa R. Civ. P. 1.281 (providing

        expedited procedures for cases with damages not exceeding $75,000) and Plaintiff’s

        counsel declines to stipulate that the amount sought does not exceed $75,000, exclusive

        of interest and costs.

                b.      Regarding the Plaintiffs’ citizenship, the state court Petition alleges at ¶ 1

        that Plaintiffs Richard and Dora Sanford were residents of Polk County, Iowa.

                c.      Regarding Defendant Busco’s citizenship; it is incorporated in the state of

        Nebraska and its principle place of business is in East Norfolk, Nebraska.

        5.      Busco hereby removes this action to the United States District Court for the

Southern District of Iowa, Central Division. Removal to this Court is proper pursuant to 28

U.S.C. § 1441(a) because this district and division embrace the place where the State Court

Action is pending.

        6.      Pursuant to Local Rule 81, Busco files contemporaneously with this Notice of

Removal: (1) copies of all process, pleadings, orders, and other papers filed in the state court; (2)

a list of all matters pending in the state court that will require resolution by this Court; (3) the

names of counsel and law firms that have appeared in the state court, with their office addresses,

telephone numbers, facsimile numbers, e-mail addresses (if available), and the names of the

parties they represent; and (4) an original and one copy of a properly completed civil cover sheet.

        7.      Busco will promptly give adverse parties written notice of the filing of this Notice

of Removal as required by 28 U.S.C. § 1446(d).




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        8.      Busco will promptly file a copy of this Notice of Removal with the Clerk of the

District Court of the State of Iowa, Polk County, where the action is currently pending, also

pursuant to 28 U.S.C. § 1446(d).

        WHEREFORE, Defendant Busco, Inc. d/b/a Arrow Stage Lines, hereby removes the

action entitled “Richard Kenneth Sanford and Dora Sanford v. Busco, Inc. d/b/a Arrow Stage

Lines”, Cause No. LACL146972 in the Iowa District Court for Polk County, to the United States

District Court for the Southern District of Iowa, Central Division.



                                                /s/ Philip A. Burian
                                                PHILIP A. BURIAN AT0001284
                                                Simmons Perrine Moyer Bergman PLC
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                                                Cedar Rapids, IA 52401
                                                Phone: 319-366-7641
                                                Facsimile: 319-366-1917
                                                pburian@simmonsperrine.com

                                                ATTORNEYS FOR DEFENDANT
                                                BUSCO INC


                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2020. I electronically filed the foregoing with the Clerk of
Court using the ECF system, which will send notification of such filing to the following counsel of
record for Plaintiff:

                Stephen D. Lombardi sdlombardi@aol.com
                Katrina M. Phillip katrina.phillip8@gmail.com


                                                /s/ Philip A. Burian
                                                Philip A. Burian




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